
PER CURIAM.
Nancy Langan appeals a final order issued by the Florida Department of Agriculture and Consumer Services, advising her that her citrus trees would be destroyed because the trees were either infected with citrus canker or were located within 1,900 feet of a canker-infested tree. We affirm the Department’s order on the authority of Florida Department of Agriculture and Consumer Services v. Haire, 836 So.2d 1040 (Fla. 4th DCA), review granted, 842 So.2d 844 (Fla.2003). See also Kirchgessner v. Fla. Dep’t of Agrie. &amp; Consumer Servs., 849 So.2d 410 (Fla. 5th DCA 2003). This affirmance is without prejudice to seek just compensation for the destruction of the trees having value, or such other relief as may be appropriate. The stay entered by the court is lifted.
AFFIRMED.
PETERSON, PLEUS and ORFINGER, JJ., concur.
